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                EXHIBIT E
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                            Surface Water Quality Standards
                        Triennial Review Results—Five-Year Plan
                                       August 2011

Background

Triennial Review Process:
   • Triennial review process was announced November 2, 2010.
   • Public meetings with formal hearings were held around the state in November 2010 (Lacey,
      Spokane, Yakima, Vancouver, and Mt. Vernon).
   • The Triennial Review process provided a forum to discuss what new initiatives are being
      developed by EPA; to solicit suggestions for where guidance is needed to implement the
      current standards, and to solicit suggestions for what new or revised criteria are needed in the
      regulation. It was not a rulemaking process.
   • Comments were received through December 17, 2010. Ecology received comments from 44
      entities.
   • A Five-Year Work Plan was developed from comments received. A responsiveness summary
      was also developed.

Selection of Water Quality Standards Triennial Review Topics came from:
   • Public comments received by December 17, 2010.
   • Obligations stemming from the EPA 2006 Approval and ESA Consultation.
   • EPA-mandated standards and criteria issues.
   • Suggestions from Ecology staff who implement the standards.

Water Quality Standards Topics Grouped By:
    •   Numeric Criteria Updates or Revisions
    •   Use Designation Updates or Changes
    •   Other Rule Revisions to Better Implement the Standards
    •   Guidance or Policy to Implement the Standards




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                         Water Quality Standards Triennial Review
                                  Five-Year Work Plan
                                    FY 2012 – FY 2016


                             Numeric Criteria Updates or Revisions

                                                                                          Fiscal Year
                            WQ Standards Topic                                    W=Staff Work
                                                                                  R=Begin Rule (CR 101)
                                                                                  12     13     14        15   16
Toxics-Human Health
Work with tribes, regulated industry, and stakeholders to begin the process to
update human health criteria and establish an appropriate fish consumption rate    R      R
(FCR) number for Washington. Work with Ecology Toxics Cleanup Program
as they adopt fish consumption rates into the Sediment Management Standards.
Develop implementation tools (such as variances, compliance schedules) for
permitted facilities to stay in compliance with the standards when more
protective criteria are adopted.

Dissolved Oxygen (D.O.)-Fresh
• Adopt D.O. criteria that better protects spawning beds (intragravel D.O.).
• Add a percent saturation criterion to eliminate false violations due to         W       R      R
    natural effects of temperature on D.O.; add clarity on “dominant aquatic
    habitat”.

Fine Sediment/Turbidity
Adopt numeric or narrative standards to protect waters from excess fine           W       R      R
sediments to protect spawning beds and aquatic life. Consider revising
turbidity criteria to apply to landscape activities (nonpoint sources).

Toxics-Aquatic Life
Update aquatic life-based criteria in the standards, including metals criteria
developed by EPA that are based on the biotic ligand model (BLM).                                         W     R

Bacterial Indicators
Propose new bacteria indicators and criteria for marine and freshwater when                               W     R
EPA national criteria updates are finalized (projected to be done 2014).

Total Dissolved Gas
Review the 110% TDG standard to determine if new data indicates an update                                 W     R
is needed. Identify data gaps that need to be to develop new criteria if
necessary.




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                             Use Designation Updates or Changes

                                                                                     Fiscal Year
                           WQ Standards Topic                                W=Staff Work
                                                                             R= Begin Rule (CR 101)
                                                                             12     13      14        15   16
Use Changes in Table 602
• Revise Table 602 and Supplemental Spawning Maps based on new fish use
   data from WDFW & tribes, and other resource managers.                     W       W      W         R     R
• Update criteria notes in Table 602 and 612 as new data is identified to
   justify the change or correction.

Use Attainability Analysis
• Work with WDFW and other resource agencies to identify areas where the
   natural condition is a warm water fishery and a use change may be         W       W      W         R     R
   justified.
• Develop guidance specific to use changes to warm water fisheries.
• Conduct public process to change uses where UAA indicates use is not
   existing or attainable in a waterbody.


                Other Rule Revisions to Better Implement the Standards

                                                                                     Fiscal Year
                           WQ Standards Topic                                W=Staff Work
                                                                             R= Begin Rule (CR 101)
                                                                             12     13      14        15   16
Water Effects Ratio - WER
Develop WER implementation guidance and clarify rule language to allow
issuance of WERs through NPDES permits.                                      W       R      R

Intermittent Waters & Stream Flow
• Develop guidance for effluent discharges to intermittent or ephemeral
    waters; adopt rule language to address implementation of standards and   W       R      R
    criteria in low flow situations.
• Consider adopting narrative standards to protect instream flows to fully
    support designated uses.

Compliance Schedules
Adopt language to allow compliance schedules greater than 10 years.           R      R

Nutrient Criteria
Where lake-specific studies have been done on phosphorus limits in
accordance with WAC 173-201A-230, adopt site-specific criteria in rule.      W       R      R

Nonpoint Source Controls
Add clarifying language in the rule at WAC 173-201A-510(3)(a) for                                     W     R
implementing nonpoint source controls.



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                     Guidance Or Policy To Implement the Standards
                                     (Fiscal Year work indicated by year)

Implementing Standards in Estuaries (FY 12):            Nutrient Criteria (FY 12):
Provide guidance and clarification of for determining   • Provide more guidance on nutrient controls &
whether fresh or marine numeric criteria apply (based      prevention from anthropogenic sources.
on salinity).                                           • Address issues with nutrient replacement
                                                           activities that are designed to increase depleted
                                                           levels of naturally occurring nutrients and
                                                           achieve historic levels of nutrient contribution
                                                           from the salmon cycle.

Pollutant Trading (FY 12): Finalize guidance for        Bioassessments (FY 12): Provide more guidance for
allowing pollutant trading in WA.                       listing impaired waters based on bioassessment
                                                        targets.

Use Attainability Analysis-UAA (FY 12): Finalize        Antidegradation (FY 12-14): Provide guidance for
UAA Guidance, provide more information on UAAs          implementing Antidegradation Tier I, II and III.

Lakes & Reservoirs (FY 13): Clarify the procedures      Identifying Uses and Criteria (FY 13): Develop use
for applying criteria to lakes and reservoirs, taking   & criteria interactive maps to allow a user to quickly
into account natural conditions. Include procedures     identify what uses and criteria apply to waterbodies
for implementing criteria in stratified systems and     in the state.
recommended modeling for TMDLs.

pH-due to ocean acidification (FY 12-14): Develop
improved more accurate methods for measuring pH
in marine conditions; guidance for implementing
standards in naturally low D.O.




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